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6
7                     IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )          Case No. 2:06-cr-0495 MCE
                                   )
11                  Plaintiff,     )          STIPULATION AND ORDER
                                   )          CONTINUING THE STATUS
12        v.                       )          CONFERENCE AND EXCLUDING TIME
                                   )          AS TO DEFENDANT JANELLE MILLER
13   KENNETH RAPIER, et al.,       )
                                   )
14                  Defendants.    )
     ______________________________)
15
16        Plaintiff, United States of America, by its counsel, Assistant
17   United States Attorney Jason Hitt, and defendant Janelle MILLER, by
18   and through his counsel, Michael Bigelow, Esq.,        stipulate and agree
19   that the currently-set status conference on August 13, 2009, should
20   be continued to October 15, 2009, at 9:00 a.m.        The parties further
21   stipulate that the time period from August 13, 2009, up to and
22   including the new status conference date of October 15, 2009, should
23   be excluded from computation of the time for commencement of trial
24   under the Speedy Trial Act.     The parties stipulate that the ends of
25   justice are served by the Court excluding such time, so that counsel
26   for defendant MILLER may have reasonable time necessary for
27   effective preparation, taking into account the exercise of due
28   diligence.   18 U.S.C. § 3161(h)(7)(B)(iv).      Specifically, the

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1    defense agrees that the impending sentencing of co-defendant Kenneth
2    RAPIER on August 13, 2009, will likely have a direct impact on the
3    sentencing exposure and/or negotiated plea offer from the government
4    and, as a result, counsel for the defendant needs additional time to
5    continue discussions with the government regarding resolution of the
6    case against the defendant, effectively evaluate the posture of the
7    case and potentially prepare for trial, and conduct further
8    investigation into mitigation of the defendant’s federal sentencing
9    exposure in this case.       Id.   For these reasons, the defendant,
10   defense counsel, and the government stipulate and agree that the
11   interests of justice served by granting this continuance outweigh
12   the best interests of the public and the defendant in a speedy
13   trial.    18 U.S.C. § 3161(h)(7)(A); Local Code T4.
14
15                                                 Respectfully Submitted,
16                                                 LAWRENCE G. BROWN
                                                   United States Attorney
17
18   DATED:    August 13, 2009           By:       /s/Jason Hitt
                                                   JASON HITT
19                                                 Assistant U.S. Attorney
20   DATED:    August 13, 2009           By:       /s/Michael Bigelow by Jason Hitt
                                                   Authorized to sign for Mr.
21                                                 Bigelow on 08-12-09
                                                   MICHAEL BIGELOW, Esq.
22                                                 Attorney for Janelle MILLER
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1                                       ORDER
2         Based upon the representations and stipulation of counsel, IT
3    IS HEREBY ORDERED that:
4         1.     The status conference set for August 13, 2009, at 9:00
5    a.m. is VACATED;
6         2.     A status conference for defendant Janelle MILLER is set
7    for October 15, 2009, at 9:00 a.m.; and
8         3.     Based upon the representations and stipulation of the
9    parties, the court finds that the time exclusion under 18 U.S.C.
10   18 U.S.C. § 3161(h)(7)(A) and Local Code T4 applies and the ends of
11   justice outweigh the best interest of the public and the defendants
12   in a speedy trial based upon the factors set forth in 18 U.S.C.
13   § 3161(h)(7)(B)(iv).    Accordingly, time under the Speedy Trial Act
14   shall be excluded from August 13, 2009, up to and including October
15   15, 2009.
16
     Dated: August 13, 2009
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18                                      _____________________________
19                                      MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
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